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                                                     March 11, 2019


VIA ELECTRONIC FILING

The Honorable G. Michael Harvey
United States District Court for the District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001

       Re: United States v. All Assets, et. al., No. 1:04-CV-00798 PLF/GMH (D.D.C.)

Dear Magistrate Judge Harvey:

         Since filing my letter to the Court dated March 8, 2019, I have been advised that
Alexander Lazarenko may still desire to participate in this lawsuit, and that he would be willing
to sit for a deposition in the United States. I expect to be able to speak with Alexander
Lazarenko on Thursday, March 14, 2019, after his sisters’ depositions.
         With regard to the location of any future deposition of Alexander Lazarenko, Mr.
Lazarenko does not live in Kiev, but lives in Lyiv which is 5 hours away. Given the political
sensitivities of this lawsuit and the Lazarenko family’s status in the Ukraine, Alexander would
not feel safe being deposed in a government building. By way of example, Yulia Tymoshenko,
Pavel Lazarenko’s former business partner, is neck and neck in the polls with Petro Poroshenko,
the current president of Ukraine. The election is scheduled for March 31, 2019. My client
himself has previously been physically assaulted because of his association with Pavel
Lazarenko.
         The prior depositions in Ukraine were conducted as part of a criminal proceeding against
Pavel Lazarenko. Witnesses were told that they were appearing in a criminal matter and were
advised of a series of rights. One of these rights was not to give testimony that might incriminate
a family member. Alexander Lazarenko is a claimant in a U.S. civil forfeiture matter and should
not be required to waive his Ukrainian rights in a Ukrainian proceeding as an accommodation to
the United States government. If the U.S. government wants to depose Alexander Lazarenko,
the proper method of doing so would be for him to travel to the United States to sit for a
deposition in the jurisdiction in which the lawsuit was initiated and is currently pending, as are
his sisters.
         Counsel is unable to speak with Alexander Lazarenko before Thursday of this week due
to the scheduled depositions of her other two clients and the time difference between the United
States and Ukraine. Counsel expects to have more definitive representations regarding
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Alexander Lazarenko’s desires with respect to this lawsuit and availability to be deposed by
Friday of this week, after his sisters’ depositions have been completed.

                                                    Sincerely yours,

                                                    Emily R. Beckman
